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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

FRANCINE ZYSK,

      Plaintiff,                                      Case No. 3:18-cv-10639
                                                      Hon. Robert H. Cleland
v                                                     Mag. Judge Stephanie Dawkins Davis

THERESA M. BRENNAN, in her
individual and official capacities,
MIRIAM CAVANAUGH, in her
individual and official capacities,

      Defendants.

 James K. Fett (P39461)                T. Joseph Seward (P35095)
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                            Motion for Discovery
      Plaintiff, through counsel, moves the Court to grant discovery as follows:

      1.     The Court’s practice guidelines state:
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               i.      Early discovery: The Court expects the parties to conduct early
                       discovery by agreement although Rule 26(b) does not authorize court
                       sanctioned discovery prior to the initial attorney’s conference.

       2.      The attorney’s conference has not been held because there is a pending motion to
dismiss.

       3.      Plaintiff served Subpoenas on third parties for documents and Defendant objected

       4.    Plaintiff withdrew the subpoenas but sought Defendant’s concurrence in this
motion; Defendant declined.

      5.       Since the Court’s practice guideline indicates that the Court expects the parties to
conduct early discovery, Plaintiff brings this motion.

       6.      Plaintiff requests that the Court rule on this motion without oral argument by
entering an order allowing the parties to begin discovery.


                                              Respectfully submitted,

                                              /s/ James K. Fett
                                              By: James K. Fett (P39461)
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Dated: September 11, 2018                     Attorneys for Plaintiff

                                 Affidavit of Mailing
I hereby certify that on September 11, 2018, I electronically filed the foregoing paper
with the Clerk of the Court using the ECF system which will send notification of such
filing to the following: T. Joseph Seward.

                                              /s/ James K. Fett
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